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Attorneys for Plaintiffs

                           IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO

 PLANNED PARENTHOOD OF THE GREAT
 NORTHWEST AND THE HAWIIAN
 ISLANDS, a Washington Corporation,               Case No.   1:18-cv-319

                       Plaintiff,
                                                  COMPLAINT FOR
     v.                                           DECLARATORY AND
                                                  INJUNCTIVE RELIEF
 LAWRENCE G. WASDEN, in his official
 capacity as Attorney General of Idaho; JAN M.
 BENNETTS, in her official capacity as Ada
 County Prosecuting Attorney; GRANT P.
 LOEBS, in his official capacity as Twin Falls
 County Prosecuting Attorney; THE
 INDIVIDUAL MEMBERS OF THE IDAHO
 STATE BOARD OF MEDICINE, in their
 official capacities; THE INDIVIDUAL
 MEMBERS OF THE STATE BOARD OF
 NURSING, in their official capacities;
 RUSSELL S. BARON, in his official capacity as
 Director of the Idaho Department of Health and
 Welfare; and DANIEL BOWEN, ANDREW

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 DOMAN, and JILL HOLINKA, in their official
 capacities as members of the IDAHO CODE
 COMMISSION,
                       Defendants.



       Plaintiff Planned Parenthood of the Great Northwest and the Hawaiian Islands (“Plaintiff” or

“Planned Parenthood”), on its own behalf and on behalf of its patients and providers, by and through

its attorneys of record, hereby complains and alleges as follows:

                                          INTRODUCTION

       1.      A new law that took effect in Idaho on July 1, 2018, places an onerous burden on all

medical providers to submit detailed reports to the State about “direct or indirect” “complications”

from abortions. See Idaho Code §§ 39-9501 et seq., and amendments to Idaho Code § 54-1413 (1)

and § 54-1814 (25) (collectively, the “Reporting Act” or “the Act”). Providers now face potential

criminal and civil penalties for non-compliance with these reporting requirements. Yet the Act is so

convoluted and vague that providers must guess as to its meaning and will not reasonably know how

to comply with its provisions. It invites arbitrary enforcement by police, prosecutors, and civil

licensing authorities. Moreover, the passage of the Act is motivated by animus and arbitrarily singles

out one particular medical procedure, which has been shown to be extremely safe, to the exclusion of

all others, which is irrational. The Act’s wholly insufficient confidentiality provisions create the real

danger of public disclosure of intimate and private information. This new law is unconstitutional,

and the Court must enjoin its enforcement.

                                               PARTIES

       2.      Plaintiff is a non-profit corporation organized under the laws of the State of

Washington doing business in Idaho. Plaintiff is the largest provider of reproductive health services

in Idaho, operating three health centers in the state, located in Ada County and Twin Falls County.


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Plaintiff provides a broad range of reproductive and sexual health services to men, women, and teens

including, but not limited to, well woman examinations, birth control, testing and treatment for

sexually transmitted infections, cancer screening, pregnancy testing, and both medication and

surgical abortions. Plaintiff sues on behalf of itself and on behalf of its patients and providers who

are adversely affected by Defendants’ actions.

       3.       Defendant Lawrence G. Wasden (“Wasden”) is the Attorney General of the State of

Idaho. Wasden has authority to prosecute against any medical practitioner who violates the

requirements of the Reporting Act. Idaho Code §§ 39-9506. He is sued in his official capacity.

       4.       Jan Bennetts (“Bennetts”) is the County Prosecutor for Ada County, where Plaintiff’s

Boise and Meridian health centers are located. Bennetts has authority to seek criminal or civil

charges against any medical practitioner who violates the requirements of the Reporting Act. Idaho

Code §§ 39-9506. She is sued in her official capacity.

       5.       Grant P. Loebs (“Loebs”) is the County Prosecutor for Twin Falls County, where

Plaintiff’s Twin Falls health center is located. Loebs has authority to seek criminal or civil charges

against any medical practitioner who violates the requirements of the Reporting Act. Idaho Code §§

39-9506. He is sued in his official capacity.

       6.       Russell S. Barron (“Barron”) is the Director of the Idaho Department of Health and

Welfare. Barron has the responsibility to oversee the production and response to public record

requests directed to the Idaho Department of Health and Welfare. He is sued in his official capacity.

         7.     The individual members of the Idaho State Board of Medicine (“Board of

 Medicine”) are also sued in their official capacity. The Board of Medicine is a state agency as

 defined in the Idaho Administrative Procedures Act. Idaho Code § 67-5201(2). Pursuant to Idaho

 Code § 54-1814, the Board of Medicine has authority to suspend, revoke or restrict all medical


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 licenses it issues and impose fines for a failure to comply with the requirements of the Reporting

 Act, Idaho Code § 39-9506. The individual memebrs are sued in their official capacities

 and are designated by their official title pursuant to Fed. R. Civ. P. 17(d).

         8.     The individual members of the Idaho State Board of Nursing (“Board of Nursing”)

 are also sued in their official capacity. The Board of Nursing is a state agency as defined in the

 Idaho Administrative Procedures Act. Idaho Code § 67-5201(2). Pursuant to Idaho Code § 54-

 1413, the Board of Nursing has authority to suspend, revoke or restrict all nursing licenses it

 issues and impose fines for a failure to comply with the requirements of the Reporting Act, Idaho

 Code § 39-9506. The individual memebrs are sued in their official capacities and are

 designated by their official title pursuant to Fed. R. Civ. P. 17(d).

       9.       The individual members of the Idaho Code Commission (Daniel Bowen, Andrew

Doman, and Jill Holinka) are also sued in their official capacity. The Idaho Code Commission is an

office of the Secretary of State established by statute. Idaho Code §§ 73-201–73-221. The

Commission’s purpose is to keep the Idaho Code up to date by indicating changes to laws, including

constitutional changes, and providing annotations, and the Commission has all power and authority

necessary to accomplish that purpose. It has the specific power to keep the Idaho Code up to date, to

provide annotations to the Code, and to provide references in the Code to decisions of the federal

courts. Idaho Code § 73-205.

                                   JURISDICTION AND VENUE

       10.      Plaintiff brings this action seeking declaratory relief pursuant to 42 U.S.C. § 1983,

and 28 U.S.C. §§ 2201 and 2202, to redress the deprivation under color of state law of rights secured

by the United Stated Constitution.

       11.      This Court has jurisdiction of the subject matter of this action pursuant to 28

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U.S.C. §§ 1331 and 1343 because the matters in controversy arise under the Constitution and laws of

the United States. This Court has personal jurisdiction over Plaintiff and Defendants.

       12.     This Court has authority to enter a permanent injunction prohibiting enforcement of

the Reporting Act and providing clear notice of its unenforceability pursuant to Rule 65 of the

Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 (b) (1)-(2) because all

Defendants reside and work in this District, and because all of the acts and events giving rise to this

Complaint occurred in this District.

                                       STATEMENT OF FACTS

                             The Abortion Complications Reporting Act

       14.     The Abortion Complications Reporting Act creates a new statutory chapter in the

Idaho Code. See I.C. ch. 95. It defines a “complication” to mean “an abnormal or a deviant process

or event arising from the performance or completion of an abortion,” but then deems the following

processes and events to be “complications” as a matter of definition, leaving practitioners to guess

whether and when they must report any of these occurrences:

        (a) Uterine perforation or injury to the uterus;
        (b) Injury or damage to any organ inside the body;
        (c) Cervical perforation or injury to the cervix;
        (d) Infection;
        (e) Heavy or excessive bleeding;
        (f) Hemorrhage;
        (g) Blood clots;
        (h) Blood transfusion;
        (i) Failure to actually terminate the pregnancy;
        (j) Incomplete abortion or retained tissue;
        (k) The need for follow-up care, surgery or an aspiration procedure for
        incomplete abortion or retained tissue;
        (l) Weakness, nausea, vomiting or diarrhea that lasts more than twenty
       four (24) hours;
        (m) Pain or cramps that do not improve with medication;
        (n) A fever of one hundred and four-tenths (100.4) degrees or higher for


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        more than twenty-four (24) hours;
        (o) Hemolytic reaction due to the administration of ABO-incompatible
        blood or blood products;
        (p) Hypoglycemia where onset occurs while the patient is being cared
        for in the abortion facility;
        (q) Physical injury associated with care received in the abortion facility;
        (r) Pelvic inflammatory disease;
        (s) Endometritis;
        (t) Missed ectopic pregnancy;
        (u) Cardiac arrest;
        (v) Respiratory arrest;
        (w) Renal failure;
        (x) Metabolic disorder;
        (y) Shock;
        (z) Embolism;
        (aa) Coma;
        (bb) Placenta previa or preterm delivery in subsequent pregnancies;
        (cc) Free fluid in the abdomen;
        (dd) Adverse or allergic reaction to anesthesia or other drugs;
        (ee) Subsequent development of breast cancer;
        (ff) Inability, refusal or unwillingness to have follow-up care, surgery or an aspiration
       procedure following an incomplete abortion or retained tissue;
       (gg) Inability, refusal or unwillingness to have a follow-up visit;
       (hh) Referral to or care provided by a hospital, emergency department or urgent care clinic or
       department;
        (ii) Death;
        (jj) Any psychological or emotional condition reported by the patient, such as depression,
       suicidal ideation, anxiety or a sleeping disorder; or
        (kk) Any other adverse event as defined by the federal food and drug administration criteria
       provided in the medwatch reporting system. I.C. § 39-9503(2) (eff. July 1,2017).

       15.     Further, the chapter broadly defines a “Facility” and a “Medical Practitioner”:

“Facility” means any public or private hospital, clinic, center, medical school, medical training

institution, health care facility, physician’s office, infirmary, dispensary, ambulatory surgical center

or other institution or location where medical care is provided to any person. I.C. § 39-9503(4).

“Medical practitioner” means a licensed medical care provider capable of making a diagnosis within

the scope of such provider’s license. I.C. § 39-9503(6).

       16.     Compounding the uncertainty of the list of “complications” itself, as of July 1, 2018,

every facility and medical practitioner must create and submit to the government a written report


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regarding each woman who comes under their care who “reports any complication, requires medical

treatment or suffers death that the medical practitioner has reason to believe in the practitioner’s

reasonable medical judgment, is a direct or indirect result of an abortion.” I.C. § 39-9504 (1).

Facilities and practitioners are left to guess what results qualify as “indirect” results of an abortion.

       17.     Further, the Act requires that: [e]very hospital, licensed health care facility or

individual medical practitioner required to submit a complication report shall attempt to ascertain

and shall report on the following:

       (a) The age and race of the woman;
       (b) The woman’s state and county of residence;
       (c) The number of previous pregnancies, number of live births and number of previous
       abortions of the woman;
       (d) The date the abortion was performed and the date that the abortion was completed, as
       well as the gestational age of the fetus, as defined in section 18-604, Idaho Code, and the
       methods used;
       (e) Identification of the physician who performed the abortion, the facility where the abortion
       was performed and the referring medical practitioner, agency or service, if any; and
       (f) The specific complication, as that term is defined in section 39-9503(2), Idaho Code
       including, where applicable, the location of the complication in the woman’s body, the date
       on which the complication occurred and whether there were any preexisting medical
       conditions that would potentially complicate pregnancy or the abortion.
       Idaho Code § 39-9504 (1).

       18.     Though Idaho Code § 39-9505 provides that reporting on forms published by the

Idaho Department of Health and Welfare need not begin until 10 days after the forms are created, no

provision of the statute requires “reporting on forms” and, apparently, reporting of complications

under Idaho Code § 39-9504(1) was required as of July 1, 2018.

         Abortion “Complications” Are Defined Vaguely and Many Have No Medical Basis

       19.     Although the statute requires that Plaintiff report all “abortion complications,” the

definition of that term, “an abnormal or a deviant process or event arising from the performance or

completion of an abortion,” Idaho Code § 39-9503(2), is so broad as to be meaningless and provides

no meaningful guidance to Planned Parenthood and its providers about how to comply or to the


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Defendants about how to enforce. The term is excessively vague and uncertain.

       20.     The vagueness is compounded by the fact that some of the purported complications

on the list are not complications of an abortion at all, and some are not even medical conditions. For

example, the Act identifies an “inability, refusal or unwillingness to have a follow-up visit” as a

potential medical complication of an abortion which must be reported under penalty of law by any

medical provider. I.C. § 39-9503(gg).

       21.     Even the referral to or care provided by a hospital, emergency department or urgent

care clinic or department is deemed a “complication” by the Act, regardless of the reason for the

referral. I.C, § 39-9503(hh).

       22.     Likewise, the Reporting Act deems “Any psychological or emotional condition

reported by the patient, such as depression, suicidal ideation, anxiety or a sleeping disorder” a

“complication” and must be reported if it is possibly a direct or indirect result of a past abortion. I.C.

§ 39-9503(jj) (emphasis added). But studies show that the rates of mental health problems for

women with an unwanted pregnancy are the same whether they have an abortion or give birth.

       23.     By further example, although no scientific link has been found between the

termination of a pregnancy and a subsequent development of breast cancer, if it were diagnosed,

even decades later, that too is listed as a “complication.” I.C. § 39-9503(ee).

       24.     The vagueness of the Reporting Act is only compounded by the fact that the law has

no restriction on time. It leaves the patient open to invasive and probing interrogation, even decades

later. Furthermore, the Reporting Act requires all medical practitioners¾physicians, physician

assistants, externs, interns, medical residents, and nurses¾to report to the state any direct or

“indirect” complications of an abortion, for any woman who requires their medical treatment, under

threat of civil and criminal penalties and professional discipline. I.C. § 39-9504(1). There is no


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guidance as to what constitutes an “indirect” complication, or parameters as to how indirect the

complication could be to trigger reporting.

        25.     This requirement to report “indirect” results exacerbates the Reporting Act’s

excessive vagueness even further. I.C. § 39-9504(1). The requirement places facilities’ and

practitioners’ licenses and livelihoods at risk based on elusive theories of causation, leaving them to

guess at how distant a nexus the State and its Board of Medicine or Board of Nursing will consider

“indirect,” mandating a report.

        26.     Moreover, the listing of examples of complications cite many medical conditions

which are both extremely rare for abortions and are more likely to occur after other medical

procedures, such as “shock” and “coma”. I.C. § 39-9503(y), (aa).

        27.     And several of the “abortion complications,” e.g. “blood clots,” or ‘heavy bleeding”

are typical, transient and potential side effects of abortions as the state acknowledges in its informed

consent brochure. See, e.g., Idaho Department of Health and Welfare’s, Abortion Informed Consent

Brochure, “What You Should Know About Abortion”1 (noting that “[i]t is normal for you to have

some cramping and bleeding after having any type of abortion,” that “[t]he cramping is caused by

your uterus contracting back to its normal size.” [at 14], and that in a medication abortion,

“[c]ramping and bleeding may be severe and will usually begin within 1 to 2 hours…. Bleeding may

continue for 13 to 17 days.” [at 8]).

        28.     Because some of the listed “complications” are not abortion complications at all, but

rather normal, expected effects, Idaho Code § 39-9504 forces Idaho practitioners to make misleading

reports, such as reporting that “heavy bleeding” or “blood clots” after an abortion is “an abnormal

or a deviant process.” I.C. § 39-9503(2), (2)(e).


1
 https://healthandwelfare.idaho.gov/Portals/0/Health/MoreInformation/AboutAbortion_WebVersion_May2017.pdf (last
visited July 16, 2018).

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       29.     A likely outcome of mandatory reporting of normal and expected side effects of

abortion, along with non-medical events and outcomes that do not actually result from abortion

under the guise of “complications” will be a lopsided and false surge in the reporting of these events

as “complications,” which will skew and deceive researchers and the public. The danger is

heightened because practitioners and facilities will fear being second-guessed by the State and face

criminal, civil, and professional sanctions if they guess wrong and fail to report such complications

that the State deems were mandated by the Act’s vague requirements.

       30.     No other Idaho laws or regulations impose comparable reporting requirements on

medical practitioners and health care facilities as the Reporting Act, even though there is a much

greater chance that many of the potential complications listed will occur with procedures other than

abortions, such as colonoscopies, wisdom teeth extraction, and tonsillectomies. This is especially

ironic because the abundant medical research conducted over decades and published in

peer-reviewed medical journals has repeatedly demonstrated that abortions are safe with

minimal adverse side effects. A Committee of the National Academies of Sciences, Engineering,

and Medicine very recently issued a Consensus Study Report entitled The Safety and Quality of

Abortion Care in the United States after reviewing all available evidence. It concluded that abortion

in the United States is safe; serious complications of abortion are rare; and abortion does not increase

the risk of long term physical or mental health disorders.

       31.     The legislature was motivated by animus against providers of abortion services and

  their patients as reflected in the legislative history of the debate of House Bill 638 on the senate

  floor when Senator Thayn (R) stated: “Now we’re creating more misdemeanors, subject to civil

  fine of $500, first violation subject to fine of $1,000. This sounds more like a totalitarian state to

  me. If this was any other subject, we wouldn’t put up with this. Any other subject.” (March 14,



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  2017 at 2:39 p.m.) (italics added).


                 Penalties and Professional Sanctions for Violating the Reporting Act

       32.      Physicians, physician assistants, and nurses who fail to file a report that the

Defendants decide was required under Idaho Code § 39-9504 can lose their professional licenses and

livelihoods. They can be not only fined civilly, but also prosecuted criminally and incarcerated.

       33.      Any person required “to file a report, keep such records or supply any information”

who willfully fails to do so is (a) guilty of unprofessional conduct, and his or her professional license

is subject to discipline in accordance with procedures governing his or her license; and (b) subject to

a civil fine of five hundred dollars ($500) for each instance of failure to report, if such person is a

medical practitioner responsible for filing an adverse reaction report with the department. I.C. §39-

9506(3). Physicians and physician assistants are exposed to discipline by the Board of Medicine

under Idaho Code § 54-1814(25) if they fail to comply with the vague reporting requirements.

Nurses are likewise exposed to discipline by the State Board of Nursing under Idaho Code § 54-

1413(1)(l).

       34.      Any facility that violates any of the vague reporting requirements can be fined $1,000

for every report that the Defendants decide that the violation was willful, and have its facility license

suspended for months and even years if the Defendants determine that they missed just two or three

reports. I.C. §39-9506(4).

       35.      Any person who submits a report that the Defendants decide is “false,” such as where

a practitioner omits reporting a listed “complication” that the practitioner does not believe is actually

a complication, risks being convicted of a misdemeanor and locked in jail.

                                  Purported Purpose of Reporting Act

       36.      The Reporting Act tasks the Department with creating a comprehensive annual


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statistical report for the legislature based on the data gathered from the reports. I.C. § 39-9504(4).

       37.     A stated finding of the legislature in creating the Act is to compile data for “future

scientific studies and public health research.” I.C. § 39-9502 (1)(l)(ii).

       38.     A stated purpose of the Act is to “promote the health and safety of women by adding

to the sum of medical and public health knowledge through the compilation or relevant data on all

abortions performed in the state, as well as on all medical complications and maternal deaths

resulting from these abortions.” I.C. § 39-9502(2). Yet the Act requires facilities and practitioners to

report both normal and abnormal results of abortions regardless of whether they were performed in

Idaho, and even decades later.

       39.     However, reports have already been filed with the Department for the past 40 years

for each abortion performed in Idaho that include data on each complication, and this data is then

compiled annually by the Department into a statistical report for the legislature and public that is

publicly available on the Department’s website. According to the Idaho Bureau of Vital Records and

Health Statistics, Division of Public Health, in 2017 there were 1,285 abortions performed in Idaho

and 8 complications (data compiled in July, 2018). Attached as Appendix A is the Idaho Bureau of

Vital Records and Health Statistics, Division of Public Health’s compilation of the total number of

complications from abortions performed in Idaho since 1978 to 2017, reflecting that complications

from abortions in Idaho are very rare indeed.

       40.     These reports and compilation support the research and conclusions of medical

experts that indicate that abortions are overwhelmingly safe.

                 The Reporting Act Violates the Privacy of Practitioners and Patients

       41.     The Reporting Act attempts to assure both practitioners and patients that “[t]he

statistical report shall not lead to the disclosure of the identity of any medical practitioner or person



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filing a report under this section nor of a woman about whom a report is made.” I.C. § 39-9504(4). It

states further that reports filed pursuant to this section shall not be deemed public records and shall

remain confidential. I.C. § 39-9504(6).

       42.     However, this promise of confidentiality is null, void and has no force or effect under

Idaho law, and the confidential reports required by the Reporting Act will result in public disclosure.

The Legislature amended the Idaho Public Records Act in 2015 to explicitly provide that after

January 1, 2016, “[a]ny statute which is added to the Idaho Code and provides for the confidentiality

or closure of any public record or class of public records shall be placed in the Public Records Act.

Any statute which was added to the Idaho Code on and after January 1, 2016, and which provides for

confidentiality or closure of a public record or class of public records and is located at a place other

than this chapter”—as is the case here—“is null, void and of no force and effect regarding the

confidentiality or closure of the public record and such public record shall be open and available to

the public for inspection as provided in this chapter”. I.C. § 74-122. The Reporting Act was created

after January 1, 2016, and its provision of confidentiality is null and void. I.C. § 39-9504(6).

       43.     Reports under the new Act directly identify abortion providers and even referring

providers. I.C. § 39-9504(2)(e). Physicians who provide abortions seek to maintain their anonymity,

and public disclosures of their identities could result in significant harm to them. Anti-abortion

activists make active efforts to identify and inflict reputational and physical harm on abortion

providers.

       44.     Reports under the new Act also identify the age, race, county of residence, number of

live births, and—in some cases—specific medical conditions defined as “complications” under the

Act for women who have obtained abortions. In many small, rural and frontier communities in

Idaho, that information could easily be used to identify a specific patient from a report.



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       45.      Accordingly, the likelihood of disclosure under the Public Records Act of reports

under the new Act is a virtual guarantee, violating the privacy of providers and patients that the

reports concern and subjecting them to irreparable harm and potential physical violence.

                                       CLAIMS FOR RELIEF

       COUNT I- VIOLATION OF RIGHT TO DUE PROCESS OF LAW – VAGUENESS

       46.      Plaintiff reaffirms and realleges each and every allegation made in paragraphs 1

through 45 above as if set forth fully here.

       47.      Idaho Code § 39-9504 requiring the identification and reporting of “abortion

complications” establishes vague and uncertain standards and is otherwise irrational and arbitrary in

violation of rights guaranteed by the due process clause of the Fourteenth Amendment to the U.S.

Constitution.

       48.      Under 42 U.S.C. § 1983, the Plaintiff is entitled to injunctive relief prohibiting the

Defendants from violating their rights, privileges, and immunities under federal law. The Plaintiff is

also entitled under 28 U.S.C. §§ 2201–2202 to a declaratory judgment declaring that Idaho Code §§

39-9501–9509, 54-1413(1)(l), and 54-1814(25) are unconstitutional.

     COUNT II- VIOLATION OF RIGHT TO EQUAL PROTECTION AND DUE PROCESS

       49.      Plaintiff reaffirms and realleges each and every allegation made in paragraphs 1

through 45 above as if set forth fully here.

       50.      Idaho Code § 39-9504 requiring the identification and reporting of “abortion

complications” establishes unique and burdensome obligations concerning abortions while ignoring

all other medical procedures that are far more likely to cause complications, is based on animus

toward the Plaintiff and its providers, is irrational and discriminatory and is in violation of the due

process and equal protection clauses of the Fourteenth Amendment to the U.S. Constitution.



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       51.     Under 42 U.S.C. § 1983, the Plaintiff is entitled to injunctive relief prohibiting the

Defendants from violating their rights, privileges, and immunities under federal law. The Plaintiff is

also entitled under 28 U.S.C. §§ 2201–2202 to a declaratory judgment declaring that Idaho Code §§

39-9501–9509, 54-1413(1)(l), and 54-1814(25) are unconstitutional.

              COUNT III- VIOLATION OF RIGHT TO INFORMATIONAL PRIVACY

       52.     Plaintiff reaffirms and realleges each and every allegation made in paragraphs 1

through 45 above as if set forth fully here.

       53.     Idaho Code § 39-9504 requiring the identification and reporting of “abortion

complications” through individual reports identifying the reporting medical practitioners and

abortion providers, and providing information that can be used to identify patients, which must be

released to the public under Idaho Code § 74-122, the Idaho Public Records Act, is in violation of

the First, Ninth, and Fourteenth Amendments to the U.S. Constitution.

       54.     Under 42 U.S.C. § 1983, the Plaintiff is entitled to injunctive relief prohibiting the

Defendants from violating their rights, privileges, and immunities under federal law. The Plaintiff is

also entitled under 28 U.S.C. §§ 2201–2202 to a declaratory judgment declaring that Idaho Code §§

39-9501–9509, 54-1413(1)(l), and 54-1814(25) are unconstitutional.

             COUNT IV- VIOLATION OF RIGHT TO DUE PROCESS – FAIR NOTICE

       55.     Plaintiff reaffirms and realleges each and every allegation made in paragraphs 1

through 45 above as if set forth fully here.

       56.     Because the Reporting Act is unconstitutional, the Idaho Code misleads and deceives

facilities, practitioners, and the public about the requirements of the law. The publication of the

Reporting Act’s provisions in the official Idaho Code without clear notice stating that the Act is

unconstitutional and unenforceably coerces compliance with the law despite its unconstitutionality,



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chills medical providers from practicing and providing abortions in Idaho, and chills patients from

seeking health care because of the risk of public disclosure of information that can be used to

identify them and their medical conditions.

       57.      The lack of fair notice of the unconstitutionality and unenforceability of the Reporting

Act in the Idaho Code violates the due process clause of the Fourteenth Amendment to the U.S.

Constitution.

       58.      Under 42 U.S.C. § 1983, the Plaintiff is entitled to injunctive relief requiring

Defendants to publish clear notice in the official Idaho Code of the Act’s unconstitutionality and

unenforceability. The Plaintiff is also entitled under 28 U.S.C. §§ 2201–2202 to a declaratory

judgment declaring that official publication of Idaho Code §§ 39-9501–9509, 54-1413(1)(l), and 54-

1814(25) without clear notice of those provisions’ unconstitutionality and unenforceability is

unconstitutional.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for Judgment against Defendants as follows:

          1.        For declaratory judgment that Idaho Code §§ 39-9501–9509, 54-1413(1)(l), and 54-

  1814(25) are unconstitutional, unenforceable, null and void;

          2.        For temporary, preliminary, and permanent injunctive relief enjoining Defendants

  Wadsen, Bennetts, Loebs and the individual members of the Idaho Board of Medicine and the

  Board of Nursing and their employees, agents, appointees or successors from enforcing,

  threatening to enforce, or otherwise applying Idaho Code §§ 39-9501–9509, 54-1413(1)(l), and 54-

  1814(25);

          3.        For temporary, preliminary, and permanent injunctive relief enjoining Defendant

  Baron, his employees, agents, appointees or successors from enforcing, threatening to enforce, or


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  otherwise releasing reports created under Idaho Code §§39-9501 et seq. under the Idaho Public

  Records Act;

         4.      For temporary, preliminary, and permanent injunctive relief enjoining the

  individual members of the Idaho Code Commission, their employees, agents, appointees and

  successors to publish clear notice that Idaho Code §§ 39-9501–9509, 54-1413(1)(l), and 54-1814(25)

  are unconstitutional, unenforceable, null, and void;

         5.      For declaratory judgment declaring that official publication of Idaho Code §§ 39-

  9501–9509, 54-1413(1)(l), and 54-1814(25) without clear notice of those provisions’

  unconstitutionality and unenforceability is unconstitutional;

         6.      For an order waving the requirement for the posting of a bond as security for entry

  of temporary or preliminary injunctive relief;

         7.      For an Order granting Plaintiff’s attorneys’ fees, reasonable costs and expenses

  pursuant to 42 U.S.C. § 1988 and as otherwise allowed by law; and

         8.      Such further relief as this Court deems just and proper.


DATED this 17th day of July, 2018.

                                     By:     /s/Deborah A. Ferguson
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